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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

 JAMI L. CLAIRE, et al.,

      Plaintiffs,

 v.                                          Case No.: 4:20-cv-20-MW-MAF

 FLORIDA DEPARTMENT OF
 MANAGEMENT SERVICES, et al.,

      Defendants.


                     PLAINTIFFS’ RESPONSE TO
             SECOND ORDER FOR SUPPLEMENTAL BRIEFING

       Plaintiffs respond to this Court’s January 3, 2023, Order for

Supplemental Briefing (ECF 158), which asks the parties to “address[ ] how

the en banc decision in Adams[1] affects the merits of Plaintiffs’ claims and

whether they wish to file amended summary-judgment papers given this

development.” (Id. at 2.)

       In their October 8, 2021, Supplemental Brief asking this Court to rule

on the parties’ pending motions for summary judgment without awaiting the

en banc decision, Plaintiffs explained why the Eleventh Circuit’s resolution



1 Adams v. Sch. Bd. of St. Johns Cnty., No. 18-13592, __ F.4th __, 2022 WL 18003879

(11th Cir. Dec. 30, 2022) (en banc).



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of the two narrow and specific questions Adams concerns would not dictate

resolution of Plaintiffs’ claims. (ECF 154.)2 The ultimate decision supports

Plaintiffs’ previous explanation for two reasons.

      First, the en banc decision in Adams does not apply to Plaintiffs’ claims

under Title VII of the Civil Rights Act of 1964 (“Title VII”). The Eleventh

Circuit’s discussion highlights Title VII and Title IX of the Education

Amendments of 1972’s (“Title IX’s”) textual differences in application and

enforcement. See, e.g., Adams, 2022 WL 18003879, at *14. That Title VII

lacks the express carveouts Title IX maintains—and contains an expansive

definition of the terms “because of sex” and “on the basis of sex,” see 42

U.S.C. § 2000e-2(a)(1); id. § 2000e(k)—underscores why Defendant

Department of Management Service’s (“DMS’s”) Exclusions discriminate

against transgender employees because of their sex and violate Title VII.

      Second, the en banc Court’s discussion of Adams’s Equal Protection

claim highlights the difference between the broadly applicable school

bathroom policy and the narrow, facially discriminatory Exclusions at issue

here. Adams reaffirms that the Exclusions must survive heightened scrutiny

because the Exclusions facially discriminate on the basis of sex, and the


2 As this Court aptly noted in its Order for Supplemental Briefing, the Eleventh Circuit’s

en banc opinion holds “that ‘separating school bathrooms based on biological sex passes
constitutional muster . . . .’.” (ECF 158, at 1-2.)

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undisputed facts in the record of this matter prove that DMS lacked sufficient

justifications to satisfy heightened scrutiny.

        I.   The Adams Decision’s Reliance on Statutory Text
             Demonstrates Why Plaintiffs’ Title VII Claims Succeed.

      Plaintiffs brought Title VII claims against Defendant DMS for

discriminating against them with respect to the “terms, conditions, [and]

privileges of employment, because of . . . [their] sex.” See 42 U.S.C.

§ 2000e-2(a)(1). Plaintiffs did not bring claims under Title IX, which—subject

to expressly delineated exceptions3—prohibits persons from being “excluded

from the participation in, being denied the benefits of, or being subject to

discrimination under any education program or activity receiving Federal

financial assistance” on the basis of sex. See 20 U.S.C. § 1681(a). This

matters.

      Although Title IX was “patterned after” the Civil Rights Act of 1964,4

courts must orient themselves in each respective statute’s text when charged

with evaluating a claimant’s cause of action. See, e.g., Bostock v. Clayton

Cnty., 140 S. Ct. 1731, 1738 (2020) (observing, “[O]nly the words on the

page constitute the law adopted by Congress and approved by the

3 See, e.g., 20 U.S.C. § 1681(a)(1)-(9); id. § 1686 (expressly carving out an exception

“with respect to living facilities”).
4 Cannon v. University of Chicago, 441 U.S. 677, 695 (1979) (observing Congress

envisioned Title IX to use the same enforcement procedures as Title VII and concluding
Title IX contemplates a private right of action).

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President,” and cautioning against extratextual interpretation, revision, or

application). The Eleventh Circuit’s en banc decision in Adams stresses this

throughout its evaluation of Adams’s Title IX claim against the St. Johns

County School Board. See 2022 WL 18003879, at *13-15. Indeed, the en

banc Court’s holding hinges on the clear textual differences between Title

VII and Title IX, and relies on Title IX’s “express statutory and regulatory

carve-outs for differentiating between the sexes when it comes to separate

living and bathroom facilities.” Id. at *14.

       Unlike Title IX, Title VII lacks express statutory and regulatory carve

outs. Adams firmly recognizes this textual distinction when explaining why

Bostock’s application to Title IX differs from its application to Title VII. Id. The

en banc decision cabins Bostock because Adams brought a Title IX claim,

whereas Bostock—and Plaintiffs’ claims against DMS—involve Title VII, not

Title IX. Adams is therefore immaterial to Plaintiffs’ Title VII claims, aside

from the decision’s emphasis on the differences between the two statutes.5

       In contrast, Title VII’s text and Bostock control Plaintiffs’ claims against

DMS. Title VII makes it unlawful—without exception—“to discriminate



5 The Title IX analysis in Adams also relies on limitations specific to federal legislation

enacted pursuant to the Spending Clause. 2022 WL 18003879, at *17. That analysis does
not apply to Title VII, which does not rely on the Spending Clause.



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against any individual with respect to [their] compensation, terms, conditions,

or privileges of employment, because of such individual’s” sex. 42 U.S.C.

§ 2000e-2(a)(1).

      That is exactly what the Exclusions do. The Exclusions discriminate on

their face by expressly excluding Plaintiffs from equivalent benefits and

opportunities because of their sex, or sex-correlated medical conditions.

See, e.g., Int’l Union, United Auto., Aerospace & Agric. Implement Workers

of America, UAW v. Johnson Controls, Inc., 499 U.S. 187, 197 (1991);

Newport News Shipbuilding & Dry Dock Co. v. EEOC, 462 U.S. 669, 678-

79, 682-84 (1983).

      Applying Bostock’s “simple test” demonstrates the Exclusions

“necessarily and intentionally discriminate against [transgender employees]

in part because of sex.” Bostock, 140 S. Ct. at 1744. “That is because it is

impossible to discriminate against a person for being . . . transgender

without discriminating against that individual based on sex.” Id. at 1741.




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       II.   The Equal Protection Analysis Applicable to Plaintiffs’
             Claims Remains Unchanged After the Adams Decision.
               a. The Exclusions facially discriminate against Plaintiffs
                  “because of sex.”

     Adams reiterates the clear constitutional rule that discrimination on the

basis of sex is subject to heightened scrutiny. 2022 WL 18003879, at *11,

*13. This is consistent with the Eleventh Circuit’s existing binding precedent

in Glenn v. Brumby, 663 F.3d 1312, 1319 (11th Cir. 2011). Adams cites

Glenn favorably, 2022 WL 18003879, at *15, and the two cases must be read

in accord with each other as binding precedents.

     The Exclusions facially discriminate on the basis of sex. By their plain

terms, they bar “gender reassignment or modification services” (ECF 122-

23, at 60, 61) (State HMO Plan Exclusion) and “sexual reassignment, or

modification services” (ECF 12-24, at 36) (State PPO Plan Exclusion). These

Exclusions “necessarily rest[] on a sex classification, because [they] cannot

be stated or effectuated without referencing sex.” See Kadel v. Folwell, 2022

WL 3226731, at *19 (M.D. N. Car. Aug. 10, 2022) (citation and internal

quotation marks omitted). As the Supreme Court explained in Bostock: “[T]ry

writing out instructions for” which treatments are excluded “without using the

words man, woman, or sex (or some synonym). It can't be done.” 140 S. Ct.

at 1746.



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      Accordingly,   courts   considering    similar   categorical   coverage

exclusions have had no trouble arriving at the conclusion that such policies

constitute sex discrimination. See, e.g., Kadel, 2022 WL 3226731, at *19

(holding that North Carolina’s state employee healthcare exclusion for

treatments “leading to or in connection with sex changes or modifications”

facially discriminates on the basis of sex); Fain v. Crouch, 2022 WL 3051015,

at *8 (S.D.W. Va. Aug. 2, 2022) (reaching the same conclusion regarding

West Virginia Medicaid’s ban on “transsexual surgery”); Fletcher v. Alaska,

443 F. Supp. 3d 1024, 1030-31 (D. Alaska 2020); Flack v. Wisconsin Dep’t

of Health Servs., 395 F. Supp. 3d 1001, 1019-22 (W.D. Wis. 2019); Boyden

v. Conlin, 341 F. Supp. 3d 979, 1002-03 (W.D. Wis. 2018); cf. Brandt by &

through Brandt v. Rutledge, 2022 WL 3652745, at *2 (8th Cir. Aug. 25, 2022)

(“Because the minor’s sex at birth determines whether or not the minor can

receive certain types of medical care under the law, [Arkansas law prohibiting

medical professionals from providing care for gender transition to minors]

discriminates on the basis of sex.”), denial of reh’g en banc, 2022 WL

16957734 (Nov. 18, 2022).

               b. The Exclusions discriminate on the basis of sex
                  stereotypes.

      Adams affirms Glenn’s holding that “[a]ll persons, whether transgender

or not, are protected from discrimination on the basis of [a sex stereotype].”


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Adams, 2022 WL 18003879, at *15 (quoting Glenn, 663 F.3d at 1318-19).

Cognizant that “[d]iscrimination on this basis is a form of sex-based

discrimination that is subject to heightened scrutiny under the Equal

Protection Clause,” Glenn, 663 F.3d at 1319, Adams concludes the

bathroom policy does not “rel[y] on impermissible stereotypes” because it

“separates bathrooms based on biological sex, which is not a stereotype.”

2022 WL 18003879, at *12; id. at *1 (defining “biological sex” as “sex based

on chromosomal structure and anatomy at birth”).

      By contrast, as Plaintiffs explain in their summary judgment papers,

the Exclusions are based on stereotypical assumptions and expectations

about men and women’s appearance and secondary sex characteristics.

(ECF 123, at 34-37; ECF 136, at 14; ECF 137, at 14-18.) When a policy

excludes coverage for gender-affirming care as the Exclusions in this case

do, it “entrenches” the sex-stereotyped “belief that transgender individuals

must preserve the genitalia and other physical attributes of their [sex

assigned at birth] sex over not just personal preference, but specific medical

and psychological recommendations to the contrary.” Boyden, 341 F. Supp.

3d at 997; Kadel v. Folwell, 446 F. Supp. 3d 1, 14 (M.D.N.C. 2020) (exclusion

“tethers Plaintiffs to sex stereotypes which, as a matter of medical necessity,

they seek to reject”).



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      Binding precedent in this Circuit has made clear that “[e]ver since the

Supreme Court began to apply heightened scrutiny to sex-based

classifications, its consistent purpose has been to eliminate discrimination

on the basis of gender stereotypes.” Glenn, 663 F.3d at 1319. When a

transgender person seeks to alter their primary or secondary sex

characteristics to bring their body into alignment with their gender identity,

this is quintessential gender nonconforming conduct. Id. at 1316 (“[T]he very

acts that define transgender people as transgender are those that contradict

stereotypes of gender-appropriate appearance and behavior.”); Evans v.

Georgia Reg'l Hosp., 850 F.3d 1248, 1263-64 (11th Cir. 2017) (Rosenbaum,

J., concurring in part, dissenting in part) (“We in the Eleventh Circuit heard

the Supreme Court's message loud and clear.…the employer fired Glenn, a

transgender woman, because the employer learned that Glenn intended to

proceed with gender transition,” thus constituting sex discrimination under

Title VII); Winstead v. Lafayette Cnty. Bd. of Cnty. Comm’rs, 197 F. Supp.

3d 1334, 1345 (N.D. Fla. 2016) (quoting Glenn, 663 F.3d at 1316).

      Because the Exclusions are a “governmental act[] based upon gender

stereotypes—which presume that men and women’s appearance and

behavior will be determined by their sex—[they] must be subjected to

heightened scrutiny because they embody ‘the very stereotype the law



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condemns.’” Glenn, at 1320 (quoting J.E.B. v. Alabama, 511 U.S. 127, 138

(1994)).

            c. Adams’ application of Geduldig is inapplicable here.

      Everybody uses bathrooms. Only transgender people seek and

receive “gender reassignment or modification services” (State HMO Plan

Exclusion) or “sexual reassignment, or modification services” (State PPO

Plan Exclusion). Neither the Plaintiff in Adams nor the Plaintiffs in this case

dispute the lawfulness of sex-separated bathrooms, nor do either suggest

that a policy that creates men’s bathrooms and women’s bathrooms facially

discriminates against transgender people. A policy that categorically

excludes medical treatments for “gender” or “sexual” “reassignment or

modification,” on the other hand, unavoidably discriminates against

transgender people—as the only people for whom such treatments would

ever be sought or required are transgender.

      As Adams reiterates, it is binding Supreme Court precedent that

“discrimination based on . . . transgender status necessarily entails

discrimination based on sex.” 2022 WL 18003879, at *11 (quoting Bostock,

140 S. Ct. at 1747). There is no dispute that the terms “sexual reassignment

or modification” or “gender reassignment or modification” mean, in practical

application, bringing one’s primary and/or secondary sex characteristics into



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alignment with their gender identity— i.e. transitioning. This is conduct that

defines transgender individuals as a class. In Christian Legal Society v.

Martinez, the Supreme Court rejected the argument that a distinction could

be made between a policy that excluded individuals because of sexual

orientation and one that excluded them on the basis that they were engaging

in homosexual conduct. 561 U.S. 661, 689 (2010).

      Likewise, no distinction can be made between a policy that excludes

transition-related health care—care that only transgender people seek and

need—and a policy that discriminates on the basis of transgender status.

See id. (quoting Lawrence v. Texas, 539 U.S. 558, 575 (2003) (“When

homosexual conduct is made criminal by the law of the State, that declaration

in and of itself is an invitation to subject homosexual persons to

discrimination.”); id. at 583, (O’Connor, J., concurring in judgment) (“While it

is true that the law applies only to conduct, the conduct targeted by this law

is conduct that is closely correlated with being homosexual. Under such

circumstances, [the] law is targeted at more than conduct. It is instead

directed toward gay persons as a class.”); Bray v. Alexandria Women's

Health Clinic, 506 U.S. 263, 270 (1993) (“A tax on wearing yarmulkes is a

tax on Jews.”)).




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      The en banc Court’s application of Geduldig v. Aiello, 417 U.S. 484

(1974), to explain why the bathroom policy does not discriminate on the basis

of transgender status has no purchase here. In Geduldig, the Supreme Court

held that a state insurance program that excluded coverage for certain

pregnancy-related disabilities did not classify on the basis of sex. Id. at 496-

97. Because the Exclusions here facially discriminate on the basis of sex,

Geduldig does not apply.

      Here, unlike in Geduldig, the conduct that is being targeted is the

conduct that defines transgender people as a class. See Christian Legal

Society, 561 U.S. at 689; Lawrence, 539 U.S. at 575. While pregnancy is not

the defining characteristic of a woman, bringing one’s body into alignment

with their gender identity is the defining characteristic of a transgender

person. See, e.g., Glenn, 663 F.3d at 1316; Kadel, 2022 WL 3226731, at

*20; Toomey v. Arizona, No. CV-19-00035-TUC-RM (LAB), 2019 WL

7172144, at *6 (D. Ariz. Dec. 23, 2019) (exclusively transgender people

seek, or medically require, gender reassignment.); see also Eknes-Tucker v.

Marshall, Case No. 2:22-CV-184, 2022 WL 1521889, at *10 (M.D. Ala. May

13, 2022), appeal docketed, No. 22-11707 (11th Cir., May 18, 2022) (“The

fundamental flaw in [the State’s Geduldig] argument is that the first category

consists entirely of transgender minors[;]” and by categorically prohibiting



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transgender minors from taking transitioning medications, “the Act places a

special burden on transgender minors because their gender identity does not

match their birth sex [and] therefore amounts to a sex-based classification.”).

      To put it plainly: the Exclusions limit the medical care that transgender

individuals can receive, and the Exclusions never limit the medical care that

cisgender people receive. Under the Exclusions, a state employee is able to

access a bilateral mastectomy for any medically necessary reason except

for treatment of gender dysphoria (ECF 123, at 16, 35); a state employee is

able to access an orchiectomy for any medically necessary reason except

for treatment of gender dysphoria (id. at 16, 35-36); and a state employee is

able to access hormones for any medically necessary reason except for

treatment of gender dysphoria (id. at 8, 17). Similarly, a state employee is

able to access a rhinoplasty for any medically necessary reason without

having the procedure labeled “cosmetic” except when the medically

necessary reason is the treatment of gender dysphoria. (Id. at 15, 36.)

      Because the only people who experience gender dysphoria are

transgender people, in each instance above the relevant characteristic is not

whether someone is classified as male or female, but whether they are

cisgender or transgender. See, e.g., Toomey, 2019 WL 7172144, at *6. Bray




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v. Alexandria Women’s Health Clinic, 506 U.S. 263 (1993), is inapposite and

inapplicable for the same reasons Geduldig is.

      It is therefore unsurprising that in addition to the many cases cited in

Plaintiffs’ memorandum in support of summary judgment (ECF 123, at 44-

45), courts across the country have continued to recognize that insurance

exclusions targeting the treatment of gender dysphoria facially discriminate

against transgender beneficiaries. See, e.g., Kadel, 2022 WL 3226731, at

*19 (holding that North Carolina’s state employee healthcare exclusion for

treatments “leading to or in connection with sex changes or modifications”

facially discriminates on the basis of sex and transgender status); Fain, 2022

WL 3051015, at *8; see also Eknes-Tucker, 2022 WL 1521889, at *9 (“the

Act prohibits transgender minors—and only transgender minors—from

taking transitioning medications due to their gender nonconformity…. [and]

therefore constitutes a sex-based classification for purposes of the

Fourteenth Amendment.”).

      The Exclusions, on their face, plainly constitute discrimination on the

basis of sex.




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           d. Defendant Allende’s6 justification for the Exclusions fails
      heightened scrutiny and would fail under any level of review.
      Adams expressly holds that the bathroom policy at issue survives

heightened scrutiny. “To satisfy intermediate scrutiny, the bathroom policy

must (1) advance an important governmental objective and (2) be

substantially related to that objective.” 2022 WL 18003879, at *7. “The

bathroom policy clears both hurdles because the policy advances the

important governmental objective of protecting students’ privacy in school

bathrooms and does so in a manner substantially related to that objective.”

Id. That same test—heightened scrutiny—applies here, and Defendant

Allende does not satisfy it. The governmental interest in protecting student

privacy in school bathrooms has no bearing on, or relation to, state employee

health insurance rules.

      It is hornbook law that under heightened scrutiny, a defendant must

provide an “exceedingly persuasive justification” for discriminating on the

basis of sex against transgender state employees. Glenn, 663 F.3d at 1321.

An “exceedingly persuasive justification” means a “sufficiently important

governmental interest” for the Exclusions—a burden that “is demanding and

it rests entirely on the State” and that cannot be “hypothesized or invented

6 Error! Main Document Only.Pedro Allende is the current Secretary of DMS and is

automatically substituted as
the proper party pursuant to Fed. R. Civ. P. 25(d).

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post hoc in response to litigation. Id. (quoting U.S. v. Virginia, 518 U.S. 515,

533 (1996)). Defendant Allende here made no effort to meet this burden, as

argued in our summary judgment briefs. (ECF 123, at 45-46; ECF 137, at

29-34.)

      Defendant Allende fails to meet his burden as no current justification

was raised or asserted by him or Defendant DMS prior to the filing of their

motions for summary judgment. The record is devoid of any evidentiary or

factual basis supporting their proffered justifications related to cost and

efficacy, and they expressly disavowed knowledge of the justifications upon

which they now seek to rely. (See ECF 137, at 13.) The only rationale offered

by Defendant Allende to support the Exclusions that is supported by the

undisputed facts in the record is that the Exclusions have been in place since

the 1970s (ECF 122-5, at 1; ECF 123, at 14-15; ECF 137, at 29-32; ECF

139, at 14-15)—as if to say that discrimination survives constitutional

scrutiny for all time so long as it was put in place many years ago. That is

not the law: “the classification must substantially serve an important

governmental interest today, for in interpreting the equal protection

guarantee,   we    have    recognized        that   new   insights   and   societal

understandings can reveal unjustified inequality that once passed unnoticed

and unchallenged.” Sessions v. Morales-Santana, 137 S. Ct. 1678, 1690



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(2017) (quoting Obergefell v. Hodges, 576 U.S. 644, 673 (2015) (emphasis

in original, internal punctuation omitted)).

      Defendant Allende’s lack of procedures for considering evolving

medical standards also contrasts sharply with Adams. There, the en banc

Court placed special weight on the fact that the School Board engaged in a

detailed evaluation of the needs of its LGBTQ+ students prior to

promulgating its bathroom policy in 2015. 2022 WL 18003879, at *6. Even if

it was customary in the 1970s for health insurance plans to exclude

treatments for what we now call gender dysphoria, that is no longer true: over

90% of the Silver Affordable Care Act plans have no exclusions like those in

the DMS plans. (ECF 118-18, Kirkland, 82:25–84:23.)7 Even with the

replacement of “gender identity disorder” (referenced in Glenn, decided in

2011, 663 F.3d at 1314), with “gender dysphoria” a decade later, shows the

large shift from viewing transgender individuals as mentally “disordered” to

being recognized as a medical condition that warrants medically necessary

care such as hormones and surgeries. This rationale utterly fails to meet




7 In fact, Defendants’ own expert witness testified that gender reassignment services and

supplies are no longer considered experimental or investigational (ECF 118-20, Levine,
129:25-130:19), as did Defendant Allende’s Chief of Staff (ECF 118-13, Fillyaw, 152:25-
153:4).

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Defendant’s burden under heightened scrutiny. Indeed, it would fail under

any level of scrutiny.

            III. Plaintiffs do not seek to submit new summary
            judgment papers.

      For the reasons argued above, Adams does not change the analysis

presented in Plaintiffs’ summary-judgment papers, and the Court should

grant summary judgment in favor of Plaintiffs against Defendant DMS on

their Title VII claim and against Defendant Allende on their Equal Protection

claim. Given the arguments above, Plaintiffs see no need to supplement their

summary judgment briefs further beyond the arguments presented here. As

a final consideration, filing amended summary judgment papers will

adversely impact Plaintiffs who cannot, now and in the future, access

medically necessary care under the state employee health insurance plans

due to the discriminatory Exclusions.

                     CERTIFICATE OF WORD COUNT

      Pursuant to N.D. Loc. R. 7.1(F), this Response to the Court’s Second

Order for Supplemental Briefing contains 3,584 words, which includes the

headings, footnotes, and quotations, but does not include the case style,

signature block or Certificates of Word Count and Service.




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Dated: January 17, 2023    Respectfully submitted,

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